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 Fill in this information to identify the case:
 United States Bankruptcy Court for the:
 WESTERN DISTRICT OF TEXAS
                                                                                                                     Check if this is an
 Case number (if known):                                     Chapter       11                                        amended filing


Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                        04/19

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and
the case number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-
Individuals, is available.


1.    Debtor's name                    Bhaktel, LLC

2.    All other names debtor used      dba Country Club Inn & Suites
      in the last 8 years

      Include any assumed names,
      trade names and doing
      business as names


3.    Debtor's federal Employer
      Identification Number (EIN)          4      7      –      2      9        1    5         7   5     0

4.    Debtor's address                 Principal place of business                                     Mailing address, if different from principal
                                                                                                       place of business

                                       1104 Zanderson Avenue
                                       Number         Street                                           Number     Street


                                                                                                       P.O. Box



                                       Jourdanton                          TX       78026
                                       City                                State    ZIP Code           City                          State   ZIP Code


                                                                                                       Location of principal assets, if different
                                       Atascosa                                                        from principal place of business
                                       County

                                                                                                       1101 Country Club Dr.
                                                                                                       Number     Street




                                                                                                       Kirksville                    MO      63501
                                                                                                       City                          State   ZIP Code

5.    Debtor's website (URL)

6.    Type of debtor                           Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                               Partnership (excluding LLP)
                                               Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 1
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Debtor Bhaktel, LLC                                                                      Case number (if known)

7.    Describe debtor's business       A. Check one:

                                            Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                            Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                            Railroad (as defined in 11 U.S.C. § 101(44))
                                            Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                            Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                            Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                            None of the above


                                       B. Check all that apply:

                                            Tax-exempt entity (as described in 26 U.S.C. § 501)
                                            Investment company, including hedge fund or pooled investment vehicle (as defined in
                                            15 U.S.C. § 80a-3)
                                            Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                       C.   NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                            http://www.uscourts.gov/four-digit-national-association-naics-codes




8.    Under which chapter of the       Check one:
      Bankruptcy Code is the
      debtor filing?                        Chapter 7
                                            Chapter 9
                                            Chapter 11. Check all that apply:
                                                            Debtor's aggregate noncontingent liquidated debts (excluding debts owed to
                                                            insiders or affiliates) are less than $2,725,625 (amount subject to adjustment on
                                                            4/01/22 and every 3 years after that).

                                                              The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                              debtor is a small business debtor, attach the most recent balance sheet,
                                                              statement of operations, cash-flow statement, and federal income tax return or if
                                                              all of these documents do not exist, follow the procedure in
                                                              11 U.S.C. § 1116(1)(B).

                                                              A plan is being filed with this petition.

                                                              Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).

                                                              The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-
                                                              Individuals Filing for Bankruptcy Under Chapter 11 (Official Form 201A) with this
                                                              form.

                                                              The debtor is a shell company as defined in the Securities Exchange Act of 1934
                                                              Rule 12b-2.

                                            Chapter 12

9.    Were prior bankruptcy                 No
      cases filed by or against
      the debtor within the last 8          Yes. District                                        When                      Case number
      years?                                                                                              MM / DD / YYYY

                                                 District                                        When                      Case number
      If more than 2 cases, attach a
                                                                                                          MM / DD / YYYY
      separate list.
                                                 District                                        When                      Case number
                                                                                                          MM / DD / YYYY



Official Form 201                       Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 2
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Debtor Bhaktel, LLC                                                                      Case number (if known)

10. Are any bankruptcy cases               No
    pending or being filed by a
    business partner or an                 Yes. Debtor                                                        Relationship
    affiliate of the debtor?
                                                  District                                                    When
    List all cases. If more than 1,                                                                                          MM / DD / YYYY
    attach a separate list.                       Case number, if known


                                                  Debtor                                                      Relationship

                                                  District                                                    When
                                                                                                                             MM / DD / YYYY
                                                  Case number, if known


11. Why is the case filed in          Check all that apply:
    this district?
                                           Debtor has had its domicile, principal place of business, or principal assets in this district for 180
                                           days immediately preceding the date of this petition or for a longer part of such 180 days than in
                                           any other district.

                                           A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this
                                           district.


12. Does the debtor own or                 No
    have possession of any                 Yes. Answer below for each property that needs immediate attention. Attach additional sheets if
    real property or personal                   needed.
    property that needs
                                                Why does the property need immediate attention?                 (Check all that apply.)
    immediate attention?
                                                     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                     safety.
                                                     What is the hazard?

                                                     It needs to be physically secured or protected from the weather.

                                                     It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                     attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-
                                                     related assets or other options).

                                                     Other


                                                Where is the property?
                                                                              Number      Street




                                                                              City                                      State        ZIP Code

                                                Is the property insured?

                                                     No
                                                     Yes. Insurance agency

                                                              Contact name

                                                              Phone


              Statistical and adminstrative information
13. Debtor's estimation of            Check one:
    available funds                       Funds will be available for distribution to unsecured creditors.
                                          After any administrative expenses are paid, no funds will be available for distribution to unsecured
                                          creditors.



Official Form 201                      Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 3
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Debtor Bhaktel, LLC                                                                      Case number (if known)

14. Estimated number of                     1-49                               1,000-5,000                               25,001-50,000
    creditors                               50-99                              5,001-10,000                              50,001-100,000
                                            100-199                            10,001-25,000                             More than 100,000
                                            200-999

15. Estimated assets                        $0-$50,000                         $1,000,001-$10 million                    $500,000,001-$1 billion
                                            $50,001-$100,000                   $10,000,001-$50 million                   $1,000,000,001-$10 billion
                                            $100,001-$500,000                  $50,000,001-$100 million                  $10,000,000,001-$50 billion
                                            $500,001-$1 million                $100,000,001-$500 million                 More than $50 billion

16. Estimated liabilities                   $0-$50,000                         $1,000,001-$10 million                    $500,000,001-$1 billion
                                            $50,001-$100,000                   $10,000,001-$50 million                   $1,000,000,001-$10 billion
                                            $100,001-$500,000                  $50,000,001-$100 million                  $10,000,000,001-$50 billion
                                            $500,001-$1 million                $100,000,001-$500 million                 More than $50 billion

              Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17. Declaration and signature of          The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in
    authorized representative             this petition.
    of debtor
                                          I have been authorized to file this petition on behalf of the debtor.

                                          I have examined the information in this petition and have a reasonable belief that the information is
                                          true and correct.


                                       I declare under penalty of perjury that the foregoing is true and correct.

                                          Executed on 12/02/2019
                                                      MM / DD / YYYY

                                          X /s/ Jatin Bhakta                                        Jatin Bhakta
                                              Signature of authorized representative of debtor      Printed name

                                          Title President

18. Signature of attorney                X /s/ Heidi McLeod                                                       Date     12/02/2019
                                            Signature of attorney for debtor                                              MM / DD / YYYY

                                            Heidi McLeod
                                            Printed name
                                            Heidi McLeod Law Office
                                            Firm name
                                            3355 Cherry Ridge Rd Ste 214
                                            Number          Street



                                            San Antonio                                                TX                   78230
                                            City                                                       State                ZIP Code


                                            (210) 853-0092                                             heidimcleodlaw@gmail.com
                                            Contact phone                                              Email address
                                            13764700
                                            Bar number                                                 State




Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 4
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 Fill in this information to identify the case
 Debtor name          Bhaktel, LLC

 United States Bankruptcy Court for the: WESTERN DISTRICT OF TEXAS

 Case number
                                                                                                                      Check if this is an
 (if known)
                                                                                                                      amended filing

Official Form 206A/B
Schedule A/B: Assets -- Real and Personal Property                                                                                                12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future
interest. Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also
include assets and properties which have no book value, such as fully depreciated assets or assets that were not capitalized.
In Schedule A/B, list any executory contracts or unexpired leases. Also list them on Schedule G: Executory Contracts and
Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any
pages added, write the debtor's name and case number (if known). Also identify the form and line number to which the
additional information applies. If an additional sheet is attached, include the amounts from the attachment in the total for the
pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a
fixed asset schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset
only once. In valuing the debtor's interest, do not deduct the value of secured claims. See the instructions to understand the
terms used in this form.



 Part 1:         Cash and cash equivalents

1.     Does the debtor have any cash or cash equivalents?
            No. Go to Part 2.
            Yes. Fill in the information below.


       All cash or cash equivalents owned or controlled by the debtor                                                         Current value of
                                                                                                                              debtor's interest

2.     Cash on hand                                                                                                                         $125.00

3.     Checking, savings, money market, or financial brokerage accounts (Identify all)

       Name of institution (bank or brokerage firm)                   Type of account                   Last 4 digits of
                                                                                                        account number
3.1.    Checking account Bank of America                              Checking account                    7   0   1     5                   $682.17
4.     Other cash equivalents       (Identify all)

       Name of institution (bank or brokerage firm)

5.     Total of Part 1
       Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.
                                                                                                                                            $807.17


 Part 2: Deposits and prepayments

6.     Does the debtor have any deposits or prepayments?

           No. Go to Part 3.
           Yes. Fill in the information below.




Official Form 206A/B                                 Schedule A/B: Assets -- Real and Personal Property                                           page 1
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Debtor         Bhaktel, LLC                                                                 Case number (if known)
               Name

                                                                                                                                  Current value of
                                                                                                                                  debtor's interest
7.     Deposits, including security deposits and utility deposits

       Description, including name of holder of deposit

7.1.    utility security deposit                                                                                                            $10,000.00
7.2.    State of Misouri deposit for sales tax                                                                                              $10,000.00

7.3.    water deposit                                                                                                                        $7,500.00
8.     Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent

       Description, including name of holder of prepayment

9.     Total of Part 2.
                                                                                                                                            $27,500.00
       Add lines 7 through 8. Copy the total to line 81.

 Part 3: Accounts receivable

10. Does the debtor have any accounts receivable?

           No. Go to Part 4.
           Yes. Fill in the information below.
                                                                                                                                  Current value of
                                                                                                                                  debtor's interest
11. Accounts receivable

11a. 90 days old or less:              $1,850.00             –               $1,850.00                = .......................                   $0.00
                             face amount                         doubtful or uncollectible accounts

11b. Over 90 days old:                   $0.00               –                 $0.00                  = .......................                   $0.00
                             face amount                         doubtful or uncollectible accounts

12. Total of Part 3
    Current value on lines 11a + 11b = line 12. Copy the total to line 82.
                                                                                                                                                  $0.00


 Part 4: Investments

13. Does the debtor own any investments?

           No. Go to Part 5.
           Yes. Fill in the information below.
                                                                                             Valuation method                     Current value of
                                                                                             used for current value               debtor's interest
14. Mutual funds or publicly traded stocks not included in Part 1

          Name of fund or stock:
15. Non-publicly traded stock and interests in incorporated and unincorporated
    businesses, including any interest in an LLC, partnership, or joint venture

      Name of entity:                                          % of ownership:
16. Government bonds, corporate bonds, and other negotiable and
    non-negotiable instruments not included in Part 1

       Describe:
17. Total of Part 4
    Add lines 14 through 16. Copy the total to line 83.
                                                                                                                                                  $0.00


 Part 5: Inventory, excluding agriculture assets

18. Does the debtor own any inventory (excluding agriculture assets)?

           No. Go to Part 6.
           Yes. Fill in the information below.


Official Form 206A/B                             Schedule A/B: Assets -- Real and Personal Property                                                   page 2
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Debtor       Bhaktel, LLC                                                              Case number (if known)
             Name

     General description                         Date of the       Net book value of    Valuation method          Current value of
                                                 last physical     debtor's interest    used for current value    debtor's interest
                                                 inventory         (Where available)
19. Raw materials                                MM/DD/YYYY

20. Work in progress

21. Finished goods, including goods held for resale

22. Other inventory or supplies

23. Total of Part 5
                                                                                                                                  $0.00
    Add lines 19 through 22. Copy the total to line 84.

24. Is any of the property listed in Part 5 perishable?
        No
        Yes

25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
       No
       Yes. Book value                            Valuation method                                   Current value

26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
       No
       Yes

 Part 6: Farming and fishing-related assets (other than titled motor vehicles and land)

27. Does the debtor own or lease any farming or fishing-related assets (other than titled motor vehicles and land)?

         No. Go to Part 7.
         Yes. Fill in the information below.

     General description                                           Net book value of    Valuation method          Current value of
                                                                   debtor's interest    used for current value    debtor's interest
                                                                   (Where available)
28. Crops--either planted or harvested

29. Farm animals Examples: Livestock, poultry, farm-raised fish

30. Farm machinery and equipment (Other than titled motor vehicles)

31. Farm and fishing supplies, chemicals, and feed

32. Other farming and fishing-related property not already listed in Part 6

33. Total of Part 6.
                                                                                                                                  $0.00
    Add lines 28 through 32. Copy the total to line 85.

34. Is the debtor a member of an agricultural cooperative?
         No
         Yes. Is any of the debtor's property stored at the cooperative?
                   No
                   Yes

35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?
       No
       Yes. Book value                            Valuation method                                   Current value

36. Is a depreciation schedule available for any of the property listed in Part 6?
         No
         Yes

37. Has any of the property listed in Part 6 been appraised by a professional within the last year?
       No
       Yes


Official Form 206A/B                           Schedule A/B: Assets -- Real and Personal Property                                     page 3
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Debtor       Bhaktel, LLC                                                               Case number (if known)
             Name


 Part 7: Office furniture, fixtures, and equipment; and collectibles

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

         No. Go to Part 8.
         Yes. Fill in the information below.

     General description                                            Net book value of    Valuation method         Current value of
                                                                    debtor's interest    used for current value   debtor's interest
                                                                    (Where available)
39. Office furniture

     2 computers, 2 printers, 1 credit card terminal,
     key machine, phone system                                                                                               $5,000.00
40. Office fixtures

     93 beds
     55 tvs
     55 dressers
     55 night tables
     55 lamps
     55 mattrises
     55 bed frames
     55 headboards                                                                                                          $55,000.00
41. Office equipment, including all computer equipment and
    communication systems equipment and software

42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
    artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
    or baseball card collections; other collections, memorabilia, or collectibles

42.1. mirrors                                                                                                                $1,500.00
43. Total of Part 7.
    Add lines 39 through 42. Copy the total to line 86.
                                                                                                                            $61,500.00

44. Is a depreciation schedule available for any of the property listed in Part 7?
         No
         Yes

45. Has any of the property listed in Part 7 been appraised by a professional within the last year?
       No
       Yes

 Part 8: Machinery, equipment, and vehicles

46. Does the debtor own or lease any machinery, equipment, or vehicles?

         No. Go to Part 9.
         Yes. Fill in the information below.

     General description                                            Net book value of    Valuation method         Current value of
     Include year, make, model, and identification numbers          debtor's interest    used for current value   debtor's interest
     (i.e., VIN, HIN, or N-number)                                  (Where available)

47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles
48. Watercraft, trailers, motors, and related accessories Examples: Boats
    trailers, motors, floating homes, personal watercraft, and fishing vessels




Official Form 206A/B                           Schedule A/B: Assets -- Real and Personal Property                                     page 4
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Debtor       Bhaktel, LLC                                                                Case number (if known)
             Name

49. Aircraft and accessories

50. Other machinery, fixtures, and equipment (excluding farm
    machinery and equipment)

51. Total of Part 8.
                                                                                                                                          $0.00
    Add lines 47 through 50. Copy the total to line 87.

52. Is a depreciation schedule available for any of the property listed in Part 8?
         No
         Yes

53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
       No
       Yes

 Part 9: Real property

54. Does the debtor own or lease any real property?

         No. Go to Part 10.
         Yes. Fill in the information below.

55.    Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
       Description and location of property          Nature and extent       Net book value of     Valuation method       Current value of
       Include street address or other description   of debtor's interest    debtor's interest     used for current       debtor's interest
       such as Assessor Parcel Number (APN),         in property             (Where available)     value
       and type of property (for example,
       acreage, factory, warehouse, apartment or
       office building), if available.

55.1. 1101 Country Club Dr.
       Kirksville, MO 63501
       1101 Country Club Dr., Kirksville, MO
       63501                                 fee simple                         $2,500,000.00                                   $2,500,000.00
56. Total of Part 9.
    Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.
                                                                                                                                $2,500,000.00

57. Is a depreciation schedule available for any of the property listed in Part 9?
         No
         Yes

58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
       No
       Yes

Part 10: Intangibles and Intellectual Property

59. Does the debtor have any interests in intangibles or intellectual property?

         No. Go to Part 11.
         Yes. Fill in the information below.

      General description                                          Net book value of      Valuation method                Current value of
                                                                   debtor's interest      used for current value          debtor's interest
                                                                   (Where available)
60. Patents, copyrights, trademarks, and trade secrets




Official Form 206A/B                           Schedule A/B: Assets -- Real and Personal Property                                             page 5
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Debtor       Bhaktel, LLC                                                                Case number (if known)
             Name

61. Internet domain names and websites

62. Licenses, franchises, and royalties

63. Customer lists, mailing lists, or other compilations

     customer list for one month                                                                                                 $50.00
64. Other intangibles, or intellectual property

65. Goodwill

66. Total of Part 10.
                                                                                                                                 $50.00
    Add lines 60 through 65. Copy the total to line 89.

67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
       No
       Yes

68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
         No
         Yes

69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
       No
       Yes

Part 11: All other assets

70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

         No. Go to Part 12.
         Yes. Fill in the information below.

                                                                                                                   Current value of
                                                                                                                   debtor's interest
71. Notes receivable

     Description (include name of obligor)

72. Tax refunds and unused net operating losses (NOLs)

     Description (for example, federal, state, local)

73. Interests in insurance policies or annuities

     bedding and towels                                                                                                      $10,343.00
74. Causes of action against third parties (whether or not a lawsuit has been filed)

75. Other contingent and unliquidated claims or causes of action of every nature,
    including counterclaims of the debtor and rights to set off claims

76. Trusts, equitable or future interests in property

77. Other property of any kind not already listed Examples: Season tickets, country club membership

78. Total of Part 11.
    Add lines 71 through 77. Copy the total to line 90.
                                                                                                                             $10,343.00

79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
       No
       Yes




Official Form 206A/B                            Schedule A/B: Assets -- Real and Personal Property                                     page 6
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Debtor           Bhaktel, LLC                                                                                        Case number (if known)
                 Name


 Part 12: Summary

In Part 12 copy all of the totals from the earlier parts of the form.

      Type of property                                                              Current value of                             Current value of
                                                                                    personal property                            real property


80. Cash, cash equivalents, and financial assets.                                                $807.17
    Copy line 5, Part 1.

81. Deposits and prepayments. Copy line 9, Part 2.                                           $27,500.00

82. Accounts receivable. Copy line 12, Part 3.                                                       $0.00

83. Investments. Copy line 17, Part 4.                                                               $0.00

84. Inventory. Copy line 23, Part 5.                                                                 $0.00

85. Farming and fishing-related assets.                                                              $0.00
    Copy line 33, Part 6.

86. Office furniture, fixtures, and equipment;                                               $61,500.00
    and collectibles. Copy line 43, Part 7.

87. Machinery, equipment, and vehicles.                                                              $0.00
    Copy line 51, Part 8.

88. Real property. Copy line 56, Part 9.......................................................................................      $2,500,000.00

89. Intangibles and intellectual property.                                                         $50.00
    Copy line 66, Part 10.

90. All other assets. Copy line 78, Part 11.                                      +          $10,343.00

91. Total. Add lines 80 through 90 for each column.                        91a.            $100,200.17           +     91b.         $2,500,000.00


                                                                                                                                                                $2,600,200.17
92. Total of all property on Schedule A/B. Lines 91a + 91b = 92.........................................................................................................




Official Form 206A/B                                        Schedule A/B: Assets -- Real and Personal Property                                                        page 7
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 Fill in this information to identify the case:
 Debtor name          Bhaktel, LLC

 United States Bankruptcy Court for the: WESTERN DISTRICT OF TEXAS

 Case number                                                                                                          Check if this is an
 (if known)                                                                                                           amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                          12/15
Be as complete and accurate as possible.

1.     Do any creditors have claims secured by debtor's property?
       No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
       Yes. Fill in all of the information below.


 Part 1:         List Creditors Who Have Secured Claims
2.     List in alphabetical order all creditors who have secured claims. If a creditor has more               Column A               Column B
       than one secured claim, list the creditor separately for each claim.                                   Amount of claim        Value of collateral
                                                                                                              Do not deduct the      that supports
                                                                                                              value of collateral.   this claim

 2.1      Creditor's name                                     Describe debtor's property that is
          Celtic Bank                                         subject to a lien                                 $1,457,017.00               $2,500,000.00

          Creditor's mailing address                          Town and Country Inn
          268 S. State St. Ste 300                            Describe the lien
                                                              Purchase Money / Agreement
                                                              Is the creditor an insider or related party?
          Salt Lake City             UT       84111                No
                                                                   Yes
          Creditor's email address, if known
                                                              Is anyone else liable on this claim?
          Date debt was incurred                                  No
                                                                  Yes. Fill out Schedule H: Codebtors (Official Form 206H)
          Last 4 digits of account
          number                          2    8      8   6   As of the petition filing date, the claim is:
          Do multiple creditors have an interest in           Check all that apply.
          the same property?                                      Contingent
              No                                                  Unliquidated
              Yes. Specify each creditor, including this          Disputed
              creditor, and its relative priority.




3.     Total of the dollar amounts from Part 1, Column A, including the amounts from the
       Additional Page, if any.                                                                                 $1,457,017.00


Official Form 206D                            Schedule D: Creditors Who Have Claims Secured by Property                                            page 1
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 Fill in this information to identify the case:
 Debtor              Bhaktel, LLC

 United States Bankruptcy Court for the: WESTERN DISTRICT OF TEXAS

 Case number                                                                                                   Check if this is an
 (if known)                                                                                                    amended filing

Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                        12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with
NONPRIORITY unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim.
Also list executory contracts on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G:
Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left.
If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:        List All Creditors with PRIORITY Unsecured Claims
1.     Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
           No. Go to Part 2.
           Yes. Go to line 2.

2.     List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or part.
       If more space is needed for priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                            Total claim         Priority amount

     2.1   Priority creditor's name and mailing address         As of the petition filing date, the              $55,000.00          $55,000.00
                                                                claim is: Check all that apply.
Adair County Collector of Revenue
                                                                    Contingent
106 W. Washington                                                   Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Kirksville                            MO      63501             2018 & 2019 Property Taxes
Date or dates debt was incurred
                                                                Is the claim subject to offset?
                                                                     No
Last 4 digits of account                                             Yes
number
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 8   )



     2.2   Priority creditor's name and mailing address         As of the petition filing date, the              $48,768.00          $48,768.00
                                                                claim is: Check all that apply.
Missouri Department of Revenue
                                                                    Contingent
PO Box 840                                                          Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Jefferson City                        MO      65105             Sales Taxes
Date or dates debt was incurred
                                                                Is the claim subject to offset?
                                                                     No
Last 4 digits of account                                             Yes
number
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 8   )




Official Form 206E/F                          Schedule E/F: Creditors Who Have Unsecured Claims                                           page 1
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Debtor        Bhaktel, LLC                                                             Case number (if known)

 Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

3.    List in alphabetical order all of the creditors with nonpriority unsecured claims. If more space is needed for nonpriority unsecured
      claims, fill out and attach the Additional Page of Part 2.
                                                                                                                       Amount of claim

     3.1   Nonpriority creditor's name and mailing address         As of the petition filing date, the claim is:                   $16,084.45
                                                                   Check all that apply.
Barr Credit Services, Inc                                              Contingent
5151 E. Broadway, Ste. 800                                             Unliquidated
                                                                       Disputed

                                                                   Basis for the claim:
Tucson                                   AZ       85711            Unsecured Creditor

Date or dates debt was incurred                                    Is the claim subject to offset?
                                                                        No
Last 4 digits of account number          2    2    5   1                Yes


     3.2   Nonpriority creditor's name and mailing address         As of the petition filing date, the claim is:                    $3,322.03
                                                                   Check all that apply.
Impact                                                                 Contingent
22705 N. Hwy 65                                                        Unliquidated
                                                                       Disputed

                                                                   Basis for the claim:
Sedalia                                  MO       65301            Unsecured Creditor

Date or dates debt was incurred                                    Is the claim subject to offset?
                                                                        No
Last 4 digits of account number          1    7    4   5                Yes


     3.3   Nonpriority creditor's name and mailing address         As of the petition filing date, the claim is:                      $700.00
                                                                   Check all that apply.
Innsoft                                                                Contingent
                                                                       Unliquidated
                                                                       Disputed

                                                                   Basis for the claim:
                                                                   check in system

Date or dates debt was incurred                                    Is the claim subject to offset?
                                                                        No
Last 4 digits of account number                                         Yes


     3.4   Nonpriority creditor's name and mailing address         As of the petition filing date, the claim is:                 $125,168.00
                                                                   Check all that apply.
Jatin Bhakta                                                           Contingent
1104 Zanderson Avenue                                                  Unliquidated
                                                                       Disputed

                                                                   Basis for the claim:
Jourdanton                               TX       78026            Unsecured Creditor

Date or dates debt was incurred                                    Is the claim subject to offset?
                                                                        No
Last 4 digits of account number                                         Yes




Official Form 206E/F                          Schedule E/F: Creditors Who Have Unsecured Claims                                         page 2
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Debtor       Bhaktel, LLC                                                           Case number (if known)

 Part 2:       Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.               Amount of claim

   3.5     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $1,125.00
                                                                Check all that apply.
Precision IT                                                        Contingent
123 N. 4th Street                                                   Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Norfolk                                NE       68701           Unsecured Creditor

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       p     e    r   8               Yes


   3.6     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:             $78,733.00
                                                                Check all that apply.
Priyakumari Bhakta                                                  Contingent
1104 Zanderson Avenue                                               Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Jourdanton                             TX       78026           Unsecured Creditor

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


   3.7     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                $450.00
                                                                Check all that apply.
Service Master by Lewellens                                         Contingent
1220 N. Baltimore                                                   Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Kirksville                             MO       63501           Unsecured Creditor

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       9     2    8   2               Yes


   3.8     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $1,945.56
                                                                Check all that apply.
Snowman, LLC                                                        Contingent
213 Gregory Lane                                                    Unliquidated
                                                                    Disputed
PO Box 78
                                                                Basis for the claim:
Bloomfield                             IA       52537           Unsecured Creditor

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                     page 3
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Debtor       Bhaktel, LLC                                                           Case number (if known)

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.               Amount of claim

   3.9     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:            $235,248.65
                                                                Check all that apply.
Wyndham Hotels & Resorts                                            Contingent
22 Sylvan Way                                                       Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Parsippany                             NJ       07054           Unsecured Creditor

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       7     9    0   4               Yes


  3.10     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                 $55.00
                                                                Check all that apply.
Zeamester                                                           Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
                                                                rent

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                     page 4
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Debtor      Bhaktel, LLC                                                      Case number (if known)

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5.   Add the amounts of priority and nonpriority unsecured claims.

                                                                                                    Total of claim amounts

5a. Total claims from Part 1                                                              5a.                $103,768.00

5b. Total claims from Part 2                                                              5b.   +            $462,831.69


5c. Total of Parts 1 and 2                                                                5c.                $566,599.69
    Lines 5a + 5b = 5c.




Official Form 206E/F                     Schedule E/F: Creditors Who Have Unsecured Claims                                   page 5
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 Fill in this information to identify the case:
 Debtor name         Bhaktel, LLC

 United States Bankruptcy Court for the: WESTERN DISTRICT OF TEXAS

 Case number                                                  Chapter      11                                      Check if this is an
 (if known)                                                                                                        amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                         12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries
consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the court with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property
          (Official Form 206A/B).

2.    List all contracts and unexpired leases                                           State the name and mailing address for all other
                                                                                        parties with whom the debtor has an executory
                                                                                        contract or unexpired lease

2.1       State what the contract       check in system                                 Innsoft
          or lease is for and the       Contract to be ASSUMED
          nature of the debtor's
          interest

          State the term remaining
          List the contract
          number of any
          government contract

2.2       State what the contract       credit card amchine                             Zeamester
          or lease is for and the       Contract to be ASSUMED
          nature of the debtor's
          interest

          State the term remaining
          List the contract
          number of any
          government contract




Official Form 206G                          Schedule G: Executory Contracts and Unexpired Leases                                             page 1
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 Fill in this information to identify the case:
 Debtor name         Bhaktel, LLC

 United States Bankruptcy Court for the: WESTERN DISTRICT OF TEXAS

 Case number                                                                                                        Check if this is an
 (if known)                                                                                                         amended filing


Official Form 206H
Schedule H: Codebtors                                                                                                                         12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries
consecutively. Attach the Additional Page to this page.


1.    Does the debtor have any codebtors?
          No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
          Yes

2.    In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the
      schedules of creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is
      owed and each schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor
      separately in Column 2.

         Column 1: Codebtor                                                                    Column 2: Creditor

                                                                                                                              Check all schedules
       Name                            Mailing address                                        Name                            that apply:

2.1    Bel Air Motel LLC               1822 S. Broadway                                       Wyndham Hotels &                      D
                                       Number      Street                                     Resorts                               E/F
                                                                                                                                    G

                                       Wichita                        KS      67211
                                       City                           State   ZIP Code


2.2    Jatin Bhakta                    1104 Zanderson Ave.                                    Wyndham Hotels &                      D
                                       Number      Street                                     Resorts                               E/F
                                                                                                                                    G

                                       Jourdonton                     TX      78026
                                       City                           State   ZIP Code


2.3    Jatin Bhakta                    1104 Zanderson Avenue                                  Celtic Bank                           D
                                       Number      Street                                                                           E/F
                                                                                                                                    G

                                       Jourdanton                     TX      78026
                                       City                           State   ZIP Code


2.4    Priya Bhakta                    1104 Zanderson Ave.                                    Wyndham Hotels &                      D
                                       Number      Street                                     Resorts                               E/F
                                                                                                                                    G

                                       Jourdonton                     TX      78026
                                       City                           State   ZIP Code




Official Form 206H                                            Schedule H: Codebtors                                                           page 1
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Debtor       Bhaktel, LLC                                                          Case number (if known)



          Additional Page if Debtor Has More Codebtors
         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

         Column 1: Codebtor                                                            Column 2: Creditor

                                                                                                                  Check all schedules
      Name                          Mailing address                                   Name                        that apply:

2.5   Priyakumari Bhakta            1104 Zanderson Avenue                             Celtic Bank                         D
                                    Number     Street                                                                     E/F
                                                                                                                          G

                                    Jourdanton                  TX      78026
                                    City                        State   ZIP Code




Official Form 206H                                       Schedule H: Codebtors                                                   page 2
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 Fill in this information to identify the case:


 Debtor Name Bhaktel, LLC

 United States Bankruptcy Court for the:                   WESTERN DISTRICT OF TEXAS


 Case number (if known):                                                                                                                                                            Check if this is an
                                                                                                                                                                                    amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                               12/15



 Part 1:           Summary of Assets

1.   Schedule A/B: Assets--Real and Personal Property (Official Form 206A/B)

     1a. Real property:
                                                                                                                                                                                 $2,500,000.00
         Copy line 88 from Schedule A/B........................................................................................................................................................................

     1b. Total personal property:
                                                                                                                                                                                   $100,200.17
         Copy line 91A from Schedule A/B........................................................................................................................................................................

     1c. Total of all property
                                                                                                                                                                                 $2,600,200.17
         Copy line 92 from Schedule A/B........................................................................................................................................................................


 Part 2:           Summary of Liabilities

2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                                                                                                                                                    $1,457,017.00
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D......................................................

3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

     3a. Total claim amounts of priority unsecured claims:
                                                                                                                                                                     $103,768.00
         Copy the total claims from Part 1 from line 5a of Schedule E/F..............................................................................................................................................

     3b. Total amount of claims of nonpriority amount of unsecured claims:
                                                                                                                                              +            $462,831.69
         Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F...................................................................................................................


4.   Total liabilities
     Lines 2 + 3a + 3b........................................................................................................................................................................ $2,023,616.69




Official Form 206Sum                                         Summary of Assets and Liabilities for Non-Individuals                                                                                  page 1
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 Fill in this information to identify the case and this filing:
 Debtor Name         Bhaktel, LLC

 United States Bankruptcy Court for the: WESTERN DISTRICT OF TEXAS

 Case number
 (if known)

Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                             12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included
in the document, and any amendments of those documents. This form must state the individual's position or relationship to
the debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or
both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


               Declaration and signature

            I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership;
            or another individual serving as a representative of the debtor in this case.

            I have examined the information in the documents checked below and I have a reasonable belief that the information is true and
            correct:


                 Schedule A/B: Assets--Real and Personal Property (Official Form 206A/B)

                 Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

                 Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

                 Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

                 Schedule H: Codebtors (Official Form 206H)

                 A Summary of Assets and Liabilities for Non-Individuals (Official Form 206-Summary)

                 Amended Schedule

                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders
                 (Official Form 204)

                 Other document that requires a declaration


            I declare under penalty of perjury that the foregoing is true and correct.

            Executed on 12/02/2019                       X /s/ Jatin Bhakta
                        MM / DD / YYYY                       Signature of individual signing on behalf of debtor


                                                             Jatin Bhakta
                                                             Printed name
                                                             President
                                                             Position or relationship to debtor




Official Form B202                     Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:
 Debtor name        Bhaktel, LLC

 United States Bankruptcy Court for the: WESTERN DISTRICT OF TEXAS

 Case number
                                                                                                                Check if this is an
 (if known)
                                                                                                                amended filing


Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                  04/19

The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write the debtor's name and case number (if known).


 Part 1:        Income
1.   Gross revenue from business

         None

Identify the beginning and ending dates of the debtor's fiscal year,           Sources of revenue                             Gross revenue
which may be a calendar year                                                   Check all that apply.                          (before deductions
                                                                                                                              and exclusions


From the beginning of the                                                          Operating a business
                                 From    01/01/2019      to   Filing date
fiscal year to filing date:                                                        Other                                              $394,818.00
                                        MM / DD / YYYY

                                                                                   Operating a business
For prior year:                  From    01/01/2018      to    12/31/2018
                                        MM / DD / YYYY        MM / DD / YYYY       Other                                              $381,383.00

                                                                                   Operating a business
For the year before that:        From    01/01/2017      to    12/31/2017
                                        MM / DD / YYYY        MM / DD / YYYY       Other                                              $560,036.00

2.   Non-business revenue
     Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from
     lawsuits, and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

         None

 Part 2:        List Certain Transfers Made Before Filing for Bankruptcy
3.   Certain payments or transfers to creditors within 90 days before filing this case

     List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days
     before filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be
     adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.)

         None




Official Form 207                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 1
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Debtor         Bhaktel, LLC                                                                  Case number (if known)
               Name

4.   Payments or other transfers of property made within 1 year before filing this case that benefited any insider

     List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or
     guaranteed or co-signed by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than
     $6,825. (This amount may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of
     adjustment.) Do not include any payments listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor
     and their relatives; general partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and
     any managing agent of the debtor. 11 U.S.C. § 101(31).


         None

5.   Repossessions, foreclosures, and returns

     List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a
     creditor, sold at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in
     line 6.

         None

6.   Setoffs

     List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from
     an account of the debtor without permission or refused to make a payment at the debtor's direction from an account of the debtor because
     the debtor owed a debt.

         None

 Part 3:        Legal Actions or Assignments
7.   Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
     List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor
     was involved in any capacity--within 1 year before filing this case.

         None

8.   Assignments and receivership

     List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the
     hands of a receiver, custodian, or other court-appointed officer within 1 year before filing this case.

         None

 Part 4:        Certain Gifts and Charitable Contributions
9.   List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the
     aggregate value of the gifts to that recipient is less than $1,000

         None

 Part 5:        Certain Losses
10. All losses from fire, theft, or other casualty within 1 year before filing this case.

         None




Official Form 207                    Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 2
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Debtor          Bhaktel, LLC                                                              Case number (if known)
                Name


 Part 6:          Certain Payments or Transfers
11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year
    before the filing of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or
    restructuring, seeking bankruptcy relief, or filing a bankruptcy case.

          None

         Who was paid or who received the transfer?           If not money, describe the property             Dates               Total amount
                                                              transferred                                                         or value
 11.1. Heidi McLeod Law Office                                                                                11/25/2019             $10,000.00

         Address

         3355 Cherry Ridge Rd Ste. 214
         Street


         San Antonio                 TX      78230
         City                        State   ZIP Code

         Email or website address



         Who made the payment, if not debtor?



         Who was paid or who received the transfer?           If not money, describe the property             Dates               Total amount
                                                              transferred                                                         or value
 11.2. Ron Smeberg                                                                                                                     $750.00

         Address

         2010 W. Kings Hiwy
         Street


         San Antonio                 TX      78201
         City                        State   ZIP Code

         Email or website address



         Who made the payment, if not debtor?



12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing
    of this case to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

          None




Official Form 207                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                 page 3
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Debtor        Bhaktel, LLC                                                                 Case number (if known)
              Name

13. Transfers not already listed on this statement
    List any transfers of money or other property--by sale, trade, or any other means--made by the debtor or a person acting on behalf of the
    debtor within 2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or
    financial affairs. Include both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this
    statement.

         None

 Part 7:        Previous Locations
14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.

         Does not apply


 Part 8:        Health Care Bankruptcies
15. Health Care bankruptcies

     Is the debtor primarily engaged in offering services and facilities for:

         diagnosing or treating injury, deformity, or disease, or

         providing any surgical, psychiatric, drug treatment, or obstetric care?

         No. Go to Part 9.
         Yes. Fill in the information below.

 Part 9:        Personally Identifiable Information
16. Does the debtor collect and retain personally identifiable information of customers?

         No.
         Yes. State the nature of the information collected and retained
                Credit Card numbers, drivers license numbers and addresses
                Does the debtor have a privacy policy about that information?
                   No.
                   Yes.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b) or
    other pension or profit-sharing plan made available by the debtor as an employee benefit?

         No. Go to Part 10.
         Yes. Does the debtor serve as plan administrator?
                  No. Go to Part 10.
                  Yes. Fill in below:




Official Form 207                    Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 4
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Debtor       Bhaktel, LLC                                                                   Case number (if known)
             Name


 Part 10:       Certain Financial Accounts, Safe Deposit Boxes, and Storage Units
18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor's name, or for the debtor's benefit,
    closed, sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts, certificates of deposit, and shares in banks, credit unions, brokerage
    houses, cooperatives, associations, and other financial institutions.

         None

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before
    filing this case.

         None

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a
    building in which the debtor does business.

         None

 Part 11:       Property the Debtor Holds or Controls That the Debtor Does Not Own
21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held
    in trust. Do not list leased or rented property.


         None

 Part 12:       Details About Environmental Information
For the purpose of Part 12, the following definitions apply:

   Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless or
   the medium affected (air, land, water, or any other medium).


   Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor
   formerly owned, operated, or utilized.

   Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
   similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law?
    Include settlements and orders.

         No
         Yes. Provide details below.




Official Form 207                    Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                        page 5
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Debtor        Bhaktel, LLC                                                                 Case number (if known)
              Name

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in
    violation of an environmental law?

          No
          Yes. Provide details below.

24. Has the debtor notified any govermental unit of any release of hazardous material?

          No
          Yes. Provide details below.

 Part 13:        Details About the Debtor's Business or Connections to Any Business
25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this
    case. Include this information even if already listed in the Schedules.

          None

26. Books, records, and financial statements

     26a.    List all accountants and bookkeepers who maintained the debtor's books and records within 2 years before filing this case.

                  None

                 Name and address                                                                   Dates of service

      26a.1. Lucy on the Go LLC                                                                     From                      To
                 Name
                 PO Box 792772
                 Street


                 San Antonio                                  TX          78279
                 City                                         State       ZIP Code

     26b.    List all firms or individuals who have audited, compiled, or reviewed debtor's books of account and records or prepared a financial
             statement within 2 years before filing this case.

                  None

     26c.    List all firms or individuals who were in possession of the debtor's books of account and records when this case is filed.

                  None

                 Name and address                                                               If any books of account and records are
                                                                                                unavailable, explain why
         26c.1. Jatin Bhakta
                 Name
                 1104 Zanderson Ave
                 Street


                 Jourdanton                                   TX          78026
                 City                                         State       ZIP Code




Official Form 207                    Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 6
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Debtor           Bhaktel, LLC                                                                   Case number (if known)
                 Name

     26d.       List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a
                financial statement within 2 years before filing this case.

                    None

27. Inventories
    Have any inventories of the debtor's property been taken within 2 years before filing this case?

          No.
          Yes. Give the details about the two most recent inventories.

28. List the debtor's officers, directors, managing members, general partners, members in control, controlling shareholders,
    or other people in control of the debtor at the time of the filing of this case.


Name                                         Address                                      Position and nature of any interest         % of interest, if any

Jatin Bhakta                                 1104 Zanderson TX 78026                      General Manger                                      100%
                                             Jourdanton , TX 78026
29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners,
    members in control of the debtor, or shareholders in control of the debtor who no longer hold these positions?

          No
          Yes. Identify below.

Name                                         Address                                      Position and nature of        Period during which position
                                                                                          any interest                  or interest was held
Paresh Bhakta                                                                             General Manager /             From          To
                                                                                                                        December 30, 2015
                                                                                                                                      October 30, 2019
                                                                                          50%
30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws,
    bonuses, loans, credits on loans, stock redemptions, and options exercised?

          No
          Yes. Identify below.

         Name and address of recipient                     Amount of money or description            Dates            Reason for
                                                           and value of property                                      providing the value


 30.1. Jatin Bhakta                                        $2,522.00                                 one year         salary
         Name

         Street




         City                       State   ZIP Code

         Relationship to debtor
         majority sharholder

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

          No
          Yes. Identify below.

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

          No
          Yes. Identify below.




Official Form 207                        Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 7
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Debtor        Bhaktel, LLC                                                               Case number (if known)
              Name


 Part 14:      Signature and Declaration
WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is
true and correct.

I declare under penalty of perjury that the foregoing is true and correct.

Executed on 12/02/2019
            MM / DD / YYYY
X /s/ Jatin Bhakta                                                           Printed name Jatin Bhakta
   Signature of individual signing on behalf of the debtor

   Position or relationship to debtor President

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
    No
    Yes




Official Form 207                    Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 8
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B2030 (Form 2030) (12/15)
                                                          UNITED STATES BANKRUPTCY COURT
                                                             WESTERN DISTRICT OF TEXAS
                                                                SAN ANTONIO DIVISION
In re Bhaktel, LLC                                                                                                                  Case No.

                                                                                                                                    Chapter            11

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1. Pursuant to 11 U.S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and
   that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for
   services rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case
   is as follows:

     For legal services, I have agreed to accept.........................................................................................................
                                                                                                                              $10,000.00
     Prior to the filing of this statement I have received.............................................................................................
                                                                                                                             $10,000.00
     Balance Due..............................................................................................................................................................
                                                                                                                                                        $0.00

2. The source of the compensation paid to me was:
                       Debtor                                    Other (specify)

3. The source of compensation to be paid to me is:
                       Debtor                                    Other (specify)

4.         I have not agreed to share the above-disclosed compensation with any other person unless they are members and
           associates of my law firm.

           I have agreed to share the above-disclosed compensation with another person or persons who are not members or
           associates of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the
           compensation, is attached.


5. In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

     a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in
     bankruptcy;

     b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

     c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
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B2030 (Form 2030) (12/15)

6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:




                                                           CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for
   representation of the debtor(s) in this bankruptcy proceeding.


                       12/02/2019                     /s/ Heidi McLeod
                          Date                        Heidi McLeod                               Bar No. 13764700
                                                      Heidi McLeod Law Office
                                                      3355 Cherry Ridge Rd Ste 214
                                                      San Antonio, Texas 78230
                                                      Phone: (210) 853-0092 / Fax: (210) 853-0129




    /s/ Jatin Bhakta
   Jatin Bhakta
   President
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 Fill in this information to identify the case:
 Debtor name        Bhaktel, LLC

 United States Bankruptcy Court for the: WESTERN DISTRICT OF TEXAS

 Case number                                                                                                               Check if this is an
 (if known)                                                                                                                amended filing

Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured
Claims and Are Not Insiders                                                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which
the debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do
not include claims by secured creditors, unless the unsecured claims resulting from inadequate collateral value places the
creditor among the holders of the 20 largest unsecured claims.


 Name of creditor and           Name, telephone        Nature of the claim   Indicate if     Amount of unsecured claim
 complete mailing               number, and email      (for example, trade   claim is        If the claim is fully unsecured, fill in only
 address, including zip         address of             debts, bank loans,    contingent,     unsecured claim amount. If claim is partially
 code                           creditor               professional          unliquidated,   secured, fill in total claim amount and
                                contact                services, and         or disputed     deduction for value of collateral or setoff to
                                                       government                            calculate unsecured claim.
                                                       contracts)
                                                                                             Total           Deduction       Unsecured
                                                                                             claim, if       for value       claim
                                                                                             partially       of
                                                                                             secured         collateral
                                                                                                             or setoff
1   Wyndham Hotels &                                   Unsecured Creditor    Disputed                                           $235,248.65
    Resorts
    22 Sylvan Way
    Parsippany, NJ 07054



2   Jatin Bhakta                                       Unsecured Creditor                                                       $125,168.00
    1104 Zanderson Avenue
    Jourdanton, TX 78026




3   Priyakumari Bhakta                                 Unsecured Creditor                                                         $78,733.00
    1104 Zanderson Avenue
    Jourdanton, TX 78026




4   Adair County Collector of                          2018 & 2019                                                                $55,000.00
    Revenue                                            Property Taxes
    106 W. Washington
    Kirksville, MO 63501



5   Missouri Department of                             Sales Taxes                                                                $48,768.00
    Revenue
    PO Box 840
    Jefferson City, MO
    65105




Official Form 204      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                      page 1
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Debtor       Bhaktel, LLC                                                         Case number (if known)
             Name


 Name of creditor and           Name, telephone       Nature of the claim   Indicate if     Amount of unsecured claim
 complete mailing               number, and email     (for example, trade   claim is        If the claim is fully unsecured, fill in only
 address, including zip         address of            debts, bank loans,    contingent,     unsecured claim amount. If claim is partially
 code                           creditor              professional          unliquidated,   secured, fill in total claim amount and
                                contact               services, and         or disputed     deduction for value of collateral or setoff to
                                                      government                            calculate unsecured claim.
                                                      contracts)
                                                                                            Total           Deduction       Unsecured
                                                                                            claim, if       for value       claim
                                                                                            partially       of
                                                                                            secured         collateral
                                                                                                            or setoff
6   Barr Credit Services, Inc                         Unsecured Creditor                                                         $16,084.45
    5151 E. Broadway, Ste.
    800
    Tucson, AZ 85711



7   Impact                                            Unsecured Creditor                                                          $3,322.03
    22705 N. Hwy 65
    Sedalia, MO 65301




8   Snowman, LLC                                      Unsecured Creditor                                                          $1,945.56
    213 Gregory Lane
    PO Box 78
    Bloomfield, IA 52537



9   Precision IT                                      Unsecured Creditor                                                          $1,125.00
    123 N. 4th Street
    Norfolk, NE 68701




10 Innsoft                                            check in system                                                               $700.00




11 Service Master by                                  Unsecured Creditor                                                            $450.00
   Lewellens
   1220 N. Baltimore
   Kirksville, MO 63501



12 Zeamester                                          rent                                                                           $55.00




Official Form 204       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                    page 2
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                                      UNITED STATES BANKRUPTCY COURT
                                         WESTERN DISTRICT OF TEXAS
                                            SAN ANTONIO DIVISION
  IN RE:   Bhaktel, LLC                                                             CASE NO

                                                                                   CHAPTER    11

                                     VERIFICATION OF CREDITOR MATRIX

      The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her
knowledge.




Date 12/2/2019                                           Signature    /s/ Jatin Bhakta
                                                                     Jatin Bhakta
                                                                     President


Date                                                     Signature
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                            Adair County Collector of Revenue
                            106 W. Washington
                            Kirksville, MO 63501



                            Barr Credit Services, Inc
                            5151 E. Broadway, Ste. 800
                            Tucson, AZ 85711



                            Bel Air Motel LLC
                            1822 S. Broadway
                            Wichita, KS 67211



                            Celtic Bank
                            268 S. State St. Ste 300
                            Salt Lake City, UT 84111



                            Impact
                            22705 N. Hwy 65
                            Sedalia, MO 65301



                            Innsoft




                            Jatin Bhakta
                            1104 Zanderson Avenue
                            Jourdanton, TX 78026



                            Jatin Bhakta
                            1104 Zanderson Ave.
                            Jourdonton, TX 78026



                            Missouri Department of Revenue
                            PO Box 840
                            Jefferson City, MO 65105
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                            Precision IT
                            123 N. 4th Street
                            Norfolk, NE 68701



                            Priya Bhakta
                            1104 Zanderson Ave.
                            Jourdonton, TX 78026



                            Priyakumari Bhakta
                            1104 Zanderson Avenue
                            Jourdanton, TX 78026



                            Service Master by Lewellens
                            1220 N. Baltimore
                            Kirksville, MO 63501



                            Snowman, LLC
                            213 Gregory Lane
                            PO Box 78
                            Bloomfield, IA 52537


                            Wyndham Hotels & Resorts
                            22 Sylvan Way
                            Parsippany, NJ 07054



                            Zeamester
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 Debtor(s): Bhaktel, LLC            Case No:                                WESTERN DISTRICT OF TEXAS
                                     Chapter: 11                                 SAN ANTONIO DIVISION


Adair County Collector of Revenue Priya Bhakta
106 W. Washington                 1104 Zanderson Ave.
Kirksville, MO 63501              Jourdonton, TX 78026



Barr Credit Services, Inc         Priyakumari Bhakta
5151 E. Broadway, Ste. 800        1104 Zanderson Avenue
Tucson, AZ 85711                  Jourdanton, TX 78026



Bel Air Motel LLC                 Service Master by Lewellens
1822 S. Broadway                  1220 N. Baltimore
Wichita, KS 67211                 Kirksville, MO 63501



Celtic Bank                       Snowman, LLC
268 S. State St. Ste 300          213 Gregory Lane
Salt Lake City, UT 84111          PO Box 78
                                  Bloomfield, IA 52537


Impact                            Wyndham Hotels & Resorts
22705 N. Hwy 65                   22 Sylvan Way
Sedalia, MO 65301                 Parsippany, NJ 07054



Innsoft                           Zeamester




Jatin Bhakta
1104 Zanderson Avenue
Jourdanton, TX 78026



Jatin Bhakta
1104 Zanderson Ave.
Jourdonton, TX 78026



Missouri Department of Revenue
PO Box 840
Jefferson City, MO 65105



Precision IT
123 N. 4th Street
Norfolk, NE 68701
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                                           UNITED STATES BANKRUPTCY COURT
                                              WESTERN DISTRICT OF TEXAS
                                                 SAN ANTONIO DIVISION
    IN RE:                                                                         CHAPTER       11
    Bhaktel, LLC



    DEBTOR(S)                                                                      CASE NO



                                            LIST OF EQUITY SECURITY HOLDERS

 Registered Name of Holder of Security                             Class of Security          Number Registered          Kind of Interest
 Last Known Address or Place of Business                                                                                 Registered


                                         DECLARATION UNDER PENALTY OF PERJURY
                                       ON BEHALF OF A CORPORATION OR PARTNERSHIP

    I, the                         President                         of the                        Corporation
named as the debtor in this case, declare under penalty of perjury that I have read the foregoing list and that it is true and correct to the
best of my information and belief.




       12/2/2019
Date:__________________________________                            /s/ Jatin Bhakta
                                                        Signature:________________________________________________________
                                                                   Jatin Bhakta
                                                                   President
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Adair County Collector of        Priya Bhakta
Revenue                          1104 Zanderson Ave.
106 W. Washington                Jourdonton, TX 78026
Kirksville, MO 63501


Barr Credit Services, Inc        Priyakumari Bhakta
5151 E. Broadway, Ste. 800       1104 Zanderson Avenue
Tucson, AZ 85711                 Jourdanton, TX 78026



Bel Air Motel LLC                Service Master by Lewellens
1822 S. Broadway                 1220 N. Baltimore
Wichita, KS 67211                Kirksville, MO 63501



Celtic Bank                      Snowman, LLC
268 S. State St. Ste 300         213 Gregory Lane
Salt Lake City, UT 84111         PO Box 78
                                 Bloomfield, IA 52537


Impact                           Wyndham Hotels & Resorts
22705 N. Hwy 65                  22 Sylvan Way
Sedalia, MO 65301                Parsippany, NJ 07054



Innsoft                          Zeamester




Jatin Bhakta
1104 Zanderson Avenue
Jourdanton, TX 78026



Jatin Bhakta
1104 Zanderson Ave.
Jourdonton, TX 78026



Missouri Department of Revenue
PO Box 840
Jefferson City, MO 65105



Precision IT
123 N. 4th Street
Norfolk, NE 68701
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Heidi McLeod, Bar No. 13764700
Heidi McLeod Law Office
3355 Cherry Ridge Rd Ste 214
San Antonio, Texas 78230
(210) 853-0092
Attorney for the Petitioner



                                 UNITED STATES BANKRUPTCY COURT FOR THE
                                                 WESTERN DISTRICT OF TEXAS
                                                   SAN ANTONIO DIVISION

In re:                                            Case No.:
Bhaktel, LLC                                            SSN: XX-XXXXXXX
                                                        SSN:
Debtor(s)
                                           Numbered Listing of Creditors
Address:
1104 Zanderson Avenue                             Chapter:   11
Jourdanton, TX 78026



             Creditor name and mailing address                      Category of claim   Amount of claim
1.     Adair County Collector of Revenue                          Priority Claim                    $55,000.00
       106 W. Washington
       Kirksville, MO 63501




2.     Barr Credit Services, Inc                                  Unsecured Claim                   $16,084.45
       5151 E. Broadway, Ste. 800
       Tucson, AZ 85711
       xxx2251



3.     Celtic Bank                                                Secured Claim                  $1,457,017.00
       268 S. State St. Ste 300
       Salt Lake City, UT 84111
       xxxx2886



4.     Impact                                                     Unsecured Claim                    $3,322.03
       22705 N. Hwy 65
       Sedalia, MO 65301
       x1745



5.     Innsoft                                                    Unsecured Claim                         $700.00




6.     Jatin Bhakta                                               Unsecured Claim                  $125,168.00
       1104 Zanderson Avenue
       Jourdanton, TX 78026
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 in re:    Bhaktel, LLC
                                                   Debtor                           Case No. (if known)

               Creditor name and mailing address              Category of claim   Amount of claim
7.        Missouri Department of Revenue                    Priority Claim                     $48,768.00
          PO Box 840
          Jefferson City, MO 65105




8.        Precision IT                                      Unsecured Claim                     $1,125.00
          123 N. 4th Street
          Norfolk, NE 68701
          xxxxxxxxxx xxper 8



9.        Priyakumari Bhakta                                Unsecured Claim                    $78,733.00
          1104 Zanderson Avenue
          Jourdanton, TX 78026




10.       Service Master by Lewellens                       Unsecured Claim                         $450.00
          1220 N. Baltimore
          Kirksville, MO 63501
          x9282



11.       Snowman, LLC                                      Unsecured Claim                     $1,945.56
          213 Gregory Lane
          PO Box 78
          Bloomfield, IA 52537



12.       Wyndham Hotels & Resorts                          Unsecured Claim                  $235,248.65
          22 Sylvan Way
          Parsippany, NJ 07054
          xxxxx-xxx79-04



13.       Zeamester                                         Unsecured Claim                          $55.00




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in re:   Bhaktel, LLC
                                                      Debtor                                                            Case No. (if known)

 (The penalty for making a false statement or concealing property is a fine of up to $500,000 or imprisonment for up to 5 years or both.
 18 U.S.C. secs. 152 and 3571.)
                                                            DECLARATION
 I, Bhaktel, LLC                                                                                                                        ,
 named as debtor in this case, declare under penalty of perjury that I have read the foregoing Numbered Listing of Creditors,
                 3
 consisting of ______  sheets (including this declaration), and that it is true and correct to the best of my information and belief.


     Debtor: /s/ Jatin Bhakta                                                       Date: 12/2/2019
            Jatin Bhakta
            President




                                                                                                                             Page 3
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                                       UNITED STATES BANKRUPTCY COURT
                                          WESTERN DISTRICT OF TEXAS
                                             SAN ANTONIO DIVISION
 In re: Bhaktel, LLC                                                     CASE NO
                                                                         CHAPTER     11


                                      BUSINESS INCOME AND EXPENSES



FINANCIAL REVIEW OF THE DEBTOR'S BUSINESS (NOTE: ONLY INCLUDE information directly related to the business operation.)

PART A - GROSS BUSINESS INCOME FOR PREVIOUS 12 MONTHS:

   1. Gross Income for 12 Months Prior to Filing:                              $394,818.00
PART B - ESTIMATED AVERAGE FUTURE GROSS MONTHLY INCOME:

   2. Gross Monthly Income:
                                                                                                          $45,000.00
PART C - ESTIMATED AVERAGE FUTURE MONTHLY EXPENSES:

   3. Net Employee Payroll (Other Than Debtor):                                    $10,000.00
   4. Payroll Taxes:                                                                 $620.00
   5. Unemployment Taxes:                                                            $620.00
   6. Worker's Compensation:                                                         $350.00
   7. Other Taxes:                                                                  $2,083.00
   8. Inventory Purchases (including raw materials):                                $1,000.00
   9. Purchase of Feed/Fertilizer/Seed/Spray:                                           $0.00
   10. Rent (other than debtor's principal residence):                                  $0.00
   11. Utilities:                                                                   $4,828.00
   12. Office Expenses and Supplies:                                                 $200.00
   13. Repairs and Maintenance:                                                      $500.00
   14. Vehicle Expenses:                                                             $500.00
   15. Travel and Entertainment:                                                     $500.00
   16. Equipment Rental and Leases:                                                  $300.00
   17. Legal/Accounting/Other Professional Fees:                                     $500.00
   18. Insurance:                                                                   $1,600.00
   19. Employee Benefits (e.g., pension, medical, etc.):                                $0.00
   20. Payments to be Made Directly by Debtor to Secured Creditors for
        Pre-Petition Business Debts (Specify):
        Celti Bank                                                                 $11,780.00
   21. Other (Specify):
       Advertising                                                                   $400.00
       soap                                                                          $500.00
       coffee and breakfast                                                          $500.00
       credit card fees                                                             $2,000.00
       check in system and credit card machine                                       $108.00
   22. Total Monthly Expenses (Add items 3 - 21)                                                          $38,889.00

PART D - ESTIMATED AVERAGE NET MONTHLY INCOME:
   23. AVERAGE NET MONTHLY INCOME (Subtract item 22 from item 2):                                          $6,111.00
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                                    UNITED STATES BANKRUPTCY COURT
                                       WESTERN DISTRICT OF TEXAS
                                          SAN ANTONIO DIVISION

  IN RE:   Bhaktel, LLC                                                     CASE NO.

                                                                            CHAPTER     11

                                               Certificate of Service


I hereby certify that a true and correct copy of the Amended Schedule E/F was served on December _____, 2018

Adair County Collector of Revenue          Jatin Bhakta                                Wyndham Hotels & Resorts
106 W. Washington                          1104 Zanderson Avenue                       22 Sylvan Way
Kirksville, MO 63501                       Jourdanton, TX 78026                        Parsippany, NJ 07054




Barr Credit Services, Inc                  Missouri Department of Revenue              Zeamester
5151 E. Broadway, Ste. 800                 PO Box 840
Tucson, AZ 85711                           Jefferson City, MO 65105




Bhaktel, LLC                               Precision IT
1104 Zanderson Avenue                      123 N. 4th Street
Jourdanton, TX 78026                       Norfolk, NE 68701




Celtic Bank                                Priyakumari Bhakta
268 S. State St. Ste 300                   1104 Zanderson Avenue
Salt Lake City, UT 84111                   Jourdanton, TX 78026




Impact                                     Service Master by Lewellens
22705 N. Hwy 65                            1220 N. Baltimore
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Innsoft                                    Snowman, LLC
                                           213 Gregory Lane
                                           PO Box 78
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